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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

NEW MEXICO TOP ORGANICS—ULTRA     )
HEALTH, INC., and JACOB R.        )
CANDELARIA, MATIAS TRUJILLO, as   )
father and guardian of MT, a minor, ERICA
                                  )
ROWLAND, and ARIEL McDOUGAL, on   )
behalf of themselves and all others similarly
                                  )
situated,                         )
                                  )
             Plaintiffs,          )                 Civil Action No.: 1:22-cv-00546-MV-LF
                                  )
       v.                         )
                                  )
BLUE CROSS AND BLUE SHIELD OF NEW )
MEXICO, PRESBYTERIAN HEALTH PLAN, )
INC., and WESTERN SKY COMMUNITY   )
CARE, INC.,                       )
                                  )
             Defendants.          )

                        NOTICE OF COMPLETION OF BRIEFING

       Defendants Blue Cross and Blue Shield of New Mexico, a division of Health Care Service

Corporation, a Mutual Legal Reserve Company (“BCBSNM”), Presbyterian Health Plan, Inc.

(“PHP”), and Western Sky Community Care, Inc. (“Western Sky”), hereby provide the Court

notice of the completion of briefing related to Defendants' Combined Motion to Dismiss Plaintiffs’

First Amended Complaint (“Defendants’ Motion”).

       The following have been filed or are related documents to the Defendants’ Motion:

       1.      Defendants’ Combined Motion to Dismiss Plaintiffs’ First Amended Complaint,

Document Number 69, filed on April 29, 2024;

       2.      Exhibit A to Defendants’ Combined Motion to Dismiss Plaintiffs’ First Amended

Complaint, Document Number 69-1, filed on April 29, 2024;




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       3.      Plaintiffs’ Response to Defendants’ Motion to Dismiss, Document Number 74,

filed on May 31, 2024;

       4.      Exhibits 1-3 to Plaintiffs’ Response to Defendants’ Motion to Dismiss, Document

Numbers 74-1 to 74-3; and

       5.      Defendants’ Combined Reply in Support of Their Motion to Dismiss Plaintiffs’

First Amended Complaint, Document Number 76, filed on June 14, 2024.

       Thus, briefing on Defendants’ Motion is complete, and this matter is ready for

consideration and decision by this Court.

       Dated: June 14, 2024.                      Respectfully Submitted,

                                                  /s/ Alex G. Elborn
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                                                  unincorporated division of Health Care
                                                  Service Corporation, a Mutual Legal
                                                  Reserve Company


                                                  /s/ Linda M. Vanzi
                                                  Linda M. Vanzi

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                              CERTIFICATE OF SERVICE

       I, Alex G. Elborn , HEREBY CERTIFY that on June 14, 2024, the foregoing document
was electronically filed through the District of New Mexico’s CM/ECF system, which caused all
counsel of record to be served by electronic means.


                                          SUTIN, THAYER & BROWNE, APC

                                          By: /s/ Alex G. Elborn



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